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                  United States Court of Appeals
                               For the First Circuit


      No. 19-1848

                    BERNARD WAITHAKA, on behalf of himself and
                          all others similarly situated,

                                Plaintiff, Appellee,

                                           v.

                    AMAZON.COM, INC.; AMAZON LOGISTICS, INC.,

                              Defendants, Appellants.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                 [Hon. Timothy S. Hillman, U.S. District Judge]


                                        Before

                               Howard, Chief Judge,
                       Lipez, and Thompson, Circuit Judges.


           David B. Salmons, with whom James P. Walsh, Jr., Noah J.
      Kaufman, Michael E. Kenneally, and Morgan, Lewis & Bockius LLP
      were on brief, for appellants.
           Harold L. Lichten, with whom Shannon Liss-Riordan, Adelaide
      H. Pagano, and Lichten & Liss-Riordan, P.C. were on brief, for
      appellee.
           Archis A. Parasharami and Mayer Brown LLP on brief for the
      Chamber of Commerce of the United States of America and the
      National Association of Manufacturers, amici curiae.
           Corbin K. Barthold, Richard A. Samp, and Washington Legal
      Foundation on brief for Washington Legal Foundation, amicus
      curiae.
           Toby J. Marshall, Blythe H. Chandler, Elizabeth A. Adams,
      Terrell Marshall Law Group PLLC, Jennifer D. Bennett, and Public
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      Justice on brief for Public Justice, amicus curiae.



                                    July 17, 2020
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                      LIPEZ,    Circuit   Judge.        This    putative     class    action

      requires us to decide whether employment contracts of certain

      delivery workers -- those locally transporting goods on the last

      legs       of   interstate     journeys    --     are   covered   by    the    Federal

      Arbitration Act ("FAA" or the "Act"), given its exemption for

      "contracts of employment of seamen, railroad employees, or any

      other class of workers engaged in foreign or interstate commerce."

      9 U.S.C. § 1.           We have not considered the scope of the exemption

      since the Supreme Court held in Circuit City Stores, Inc. v. Adams,

      532 U.S. 105 (2001), that this provision is limited to employment

      contracts of "transportation workers."                  After close examination of

      the text and purpose of the statute and the relevant precedent, we

      now    hold      that    the   exemption        encompasses    the     contracts     of

      transportation workers who transport goods or people within the

      flow of interstate commerce, not simply those who physically cross

      state lines in the course of their work.

                      Plaintiff-appellee Bernard Waithaka, a so-called "last

      mile" delivery driver for defendants-appellants Amazon.com, Inc.

      ("Amazon.com") and its subsidiary, Amazon Logistics, Inc. ("Amazon

      Logistics"),1 falls within this category of transportation workers

      whose contracts are exempt from the FAA.                  Hence, we conclude that

      the FAA does not govern the enforceability of the mandatory



             1   We refer collectively to appellants as "Amazon."


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      arbitration provision of his employment agreement with appellants.

      Because that provision prohibits proceeding on a class basis,

      either in the arbitral or judicial forum, we also agree with the

      district court that the arbitration provision is unenforceable

      under state law.     Therefore, we affirm the district court's denial

      of appellants' motion to compel arbitration.

                                             I.

      A.    Factual Background2

                   Amazon.com and Amazon Logistics are based in Seattle,

      Washington.      Amazon sells retail products online to customers

      throughout the United States. To "ensure that millions of packages

      reach their final destination as efficiently as possible," Amazon

      Logistics provides package delivery services "through the last

      mile of the order."       Amazon attributes its success as "one of the

      world's largest online retailers," in part, to its "accurate and

      timely package delivery."

                   Historically,    Amazon    has    used   third-party      delivery

      providers, such as FedEx, UPS, and the United States Postal

      Service, to deliver its products. In recent years, however, Amazon

      has   also   begun   to   contract   with     independent    contractors     for


            2"Because [Amazon's] motion to compel arbitration was made
      in connection with a motion to dismiss or stay, we draw the
      relevant facts from the operative complaint and the documents
      submitted to the district court in support of the motion to compel
      arbitration."   Cullinane v. Uber Techs., Inc., 893 F.3d 53, 55
      (1st Cir. 2018).


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      delivery services through its Amazon Flex ("AmFlex") smartphone

      application.      These   contractors,       like   Waithaka,     sign    up   for

      delivery shifts and then use their own methods of transportation

      -- typically, a private vehicle -- to deliver products ordered

      through Amazon within a specified timeframe and in compliance with

      other Amazon service standards.          AmFlex contractors are paid an

      hourly rate for their delivery shifts.           But if contractors require

      more time than a normal shift to complete all of their deliveries,

      they are not compensated for the additional time.                  Nor do they

      receive any reimbursement for their gas, car maintenance, or

      cellphone data expenses.

                  To begin work with AmFlex, a prospective contractor must

      download the AmFlex app, create an account, login, and agree to

      the   AmFlex    Independent       Contractor      Terms    of    Service       (the

      "Agreement" or the "TOS"). The second paragraph of the TOS states:

                  YOU AND AMAZON AGREE TO RESOLVE DISPUTES
                  BETWEEN YOU AND AMAZON ON AN INDIVIDUAL BASIS
                  THROUGH FINAL AND BINDING ARBITRATION, UNLESS
                  YOU OPT OUT OF ARBITRATION WITHIN 14 CALENDAR
                  DAYS OF THE EFFECTIVE DATE OF THIS AGREEMENT,
                  AS DESCRIBED BELOW IN SECTION 11.

                  Section 11 of the Agreement (the "dispute resolution

      section") further explains the arbitration requirement and also

      states that the parties waive their rights to bring class actions:




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                  11. Dispute Resolution, Submission to
                  Arbitration.

                  a) SUBJECT TO YOUR RIGHT TO OPT OUT OF
                  ARBITRATION, THE PARTIES WILL RESOLVE BY FINAL
                  AND BINDING ARBITRATION, RATHER THAN IN COURT,
                  ANY DISPUTE OR CLAIM, WHETHER BASED ON
                  CONTRACT, COMMON LAW, OR STATUTE, ARISING OUT
                  OF OR RELATING IN ANY WAY TO THIS AGREEMENT,
                  INCLUDING TERMINATION OF THIS AGREEMENT, TO
                  YOUR PARTICIPATION IN THE PROGRAM OR TO YOUR
                  PERFORMANCE OF SERVICES. TO THE EXTENT
                  PERMITTED BY LAW, THE PRECEDING SENTENCE
                  APPLIES TO ANY DISPUTE OR CLAIM THAT COULD
                  OTHERWISE BE ASSERTED BEFORE A GOVERNMENT
                  ADMINISTRATIVE AGENCY.

                  b) TO THE EXTENT PERMITTED BY LAW, THE PARTIES
                  AGREE THAT ANY DISPUTE RESOLUTION PROCEEDINGS
                  WILL BE CONDUCTED ONLY ON AN INDIVIDUAL BASIS
                  AND NOT ON A CLASS OR COLLECTIVE BASIS.

                  . . .

                  g) THIS AGREEMENT SHALL NOT BE INTERPRETED AS
                  REQUIRING EITHER PARTY TO ARBITRATE DISPUTES
                  ON A CLASS, COLLECTIVE OR REPRESENTATIVE
                  BASIS, EVEN IF A COURT OR ARBITRATOR
                  INVALIDATES OR MODIFIES OR DECLINES TO ENFORCE
                  THIS AGREEMENT IN WHOLE OR IN PART.3

                  Two parts of the Agreement pertain to the parties' choice

      of law.      The dispute resolution section includes a provision

      stating that "the Federal Arbitration Act and applicable federal

      law will govern any dispute that may arise between the parties."


            3For clarity, we refer to the provision of the dispute
      resolution section that relates to the arbitration requirement
      (subsection a) as the "arbitration provision" and those provisions
      that relate to class claims (subsections b and g, as well as
      several other provisions of Section 11 that reiterate that the
      Agreement does not permit the parties to pursue claims or receive
      relief on a class basis) as the "class waiver provisions."


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      In a separate section (the "governing law section"), the TOS

      indicates the law that governs the interpretation of the Agreement:

                    12. Governing Law.

                    The interpretation of this Agreement is
                    governed by the law of the state of Washington
                    without regard to its conflict of laws
                    principles, except for Section 11 of this
                    Agreement, which is governed by the Federal
                    Arbitration Act and applicable federal law.

                    Finally,     the     Agreement      includes      a    severability

      provision, which states that "[i]f any provision of this Agreement

      is determined to be unenforceable, the parties intend that this

      Agreement be enforced as if the unenforceable provisions were not

      present and that any partially valid and enforceable provisions be

      enforced to the fullest extent permissible under applicable law."

                    Waithaka, a resident of Massachusetts, "on-boarded" into

      the AmFlex program on January 13, 2017, and accepted the TOS on

      that same date.        He did not opt out of the arbitration agreement.

      Since     2017,   Waithaka   has     collected    packages     for   delivery    in

      Massachusetts and has not crossed state lines in the course of his

      deliveries.

      B.    Procedural Background

                    Waithaka filed this action in Massachusetts state court

      in   August    2017,     asserting    three    claims    against     Amazon:    (1)

      misclassification of AmFlex drivers as independent contractors,

      rather than employees; (2) violation of the Massachusetts Wage Act



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      by requiring AmFlex drivers to "bear business expenses necessary

      to perform their work"; and (3) violation of the Massachusetts

      Minimum Wage Law.        He seeks to bring these claims on behalf of

      himself and "individuals who have worked as delivery drivers for

      [appellants] in the Commonwealth of Massachusetts and have been

      classified as independent contractors."

                  Although     Amazon   timely     removed    the    case     to    federal

      court, the district court remanded the case after concluding that

      the putative class did not meet the requisite amount in controversy

      for   jurisdiction     pursuant    to   the    Class    Action    Fairness         Act

      ("CAFA").    Waithaka v. Amazon.com, Inc., No. 17-40141-TSH, 2018 WL

      4092074, at *3 (D. Mass. Aug. 28, 2018).                    However, Amazon was

      successful when it again removed the case in September 2018.

      Concluding that the amount in controversy had increased since the

      first removal and that the second removal was not time-barred, the

      district court denied Waithaka's second motion to remand. Waithaka

      v. Amazon.com, Inc., 363 F. Supp. 3d 210, 212-14 (D. Mass. 2019).

                  In   April    2019,   Amazon     moved     to   compel    arbitration

      pursuant to the TOS, or, in the alternative, to transfer the case

      to the United States District Court for the Western District of

      Washington so that the case could proceed with similar, earlier-

      filed litigation that was pending.            In August 2019, the district

      court denied in part and granted in part the motion.                  Waithaka v.

      Amazon.com, Inc., 404 F. Supp. 3d 335, 339 (D. Mass. 2019).


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      Specifically,     the     district     court     concluded   that       Waithaka's

      Agreement was exempt from the FAA, that Massachusetts law therefore

      governed the enforceability of the arbitration provision, and that

      the provision was unenforceable based on Massachusetts public

      policy.     Id. at 343, 346, 348.              However, the court granted

      appellants' alternative request to transfer the case, which has

      since occurred.4     Id. at 349-51.

                  Amazon      timely    filed   this     appeal,   challenging        the

      district court's denial of the motion to compel arbitration.                    The

      parties agreed to stay the Washington proceedings pending the

      resolution of the appeal.

                                             II.

                  The interpretation of arbitration agreements and the

      issuance of orders compelling arbitration, or declining to do so,

      are subject to de novo review.            Gove v. Career Sys. Dev. Corp.,

      689 F.3d 1, 4 (1st Cir. 2012).         Similarly, we review de novo choice

      of law determinations.           Robidoux v. Muholland, 642 F.3d 20, 22

      (1st Cir. 2011).

      A.    Background of the FAA

                  Congress passed the FAA in 1925 "to overcome judicial

      hostility to arbitration agreements."             Circuit City, 532 U.S. at

      118 (quoting Allied-Bruce Terminix Cos., Inc. v. Dobson, 513 U.S.


            4The district court's decision to transfer the case is not
      challenged in this appeal.


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       265, 272-73 (1995)).          The Act reflects a "liberal federal policy

       favoring arbitration agreements," Moses H. Cone Mem'l Hosp. v.

       Mercury Constr. Corp., 460 U.S. 1, 24 (1983), and provides that

       "[a] written provision in . . . a contract evidencing a transaction

       involving      commerce   to     settle      by    arbitration     a    controversy

       thereafter arising out of such contract . . . shall be valid,

       irrevocable, and enforceable," 9 U.S.C. § 2 (emphasis added).                     The

       Supreme Court has held that the phrase "involving commerce" in

       Section 2 -- referred to as the "coverage" provision of the FAA,

       Circuit City, 532 U.S. at 115 -- reflects Congress's "intent to

       exercise [its] commerce power to the full," Allied-Bruce, 513 U.S.

       at 277.

                     Despite the broad scope of Section 2, the FAA does not

       apply    to   all    contracts    that    include      arbitration      provisions.

       Section 1 of the Act exempts employment contracts of certain

       categories of workers from the Act's coverage.                  See 9 U.S.C. § 1.

       Specifically, the Act does not apply "to contracts of employment

       of seamen, railroad employees, or any other class of workers

       engaged in foreign or interstate commerce."                      Id.        This case

       concerns the scope of the residual clause of that exemption: "or

       any other class of workers engaged in foreign or interstate

       commerce."

                     In    Circuit    City    the       Supreme   Court     rejected     the

       contention that Section 1 exempts from the FAA's coverage all


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       employment contracts.     532 U.S. at 119.     Instead, it held that the

       provision exempts "only contracts of employment of transportation

       workers."   Id.   In reaching this conclusion, the Court articulated

       principles for interpreting the FAA, and Section 1 in particular.

                   First, phrases similar to the language of Section 1 --

       "in commerce" and "engaged in commerce" -- are terms of art that

       have not been interpreted as expansively as the phrase "involving

       commerce," the terminology used in Section 2.          Id. at 115-16.      To

       reach that conclusion, the Court examined how these respective

       phrases had been interpreted in other statutory contexts.             Id. at

       116-17 (citing Jones v. United States, 529 U.S. 848, 855 (2000)

       (interpreting federal arson statute); United States v. Am. Bldg.

       Maint. Indus., 422 U.S. 271, 279-80 (1975) (interpreting Clayton

       Act); Gulf Oil Corp. v. Copp Paving Co., 419 U.S. 186, 199-202

       (1974) (interpreting Robinson-Patman Act and Clayton Act); FTC v.

       Bunte Bros., Inc., 312 U.S. 349, 350-51 (1941) (interpreting

       Federal Trade Commission Act)).       Second, the residual clause must

       be interpreted in light of the specifically enumerated categories

       of workers that directly precede it, consistent with the ejusdem

       generis canon of statutory construction.5         Id. at 114-15.      Third,


            5 Pursuant to this canon of construction, "[w]here general
       words follow specific words in a statutory enumeration, the general
       words are construed to embrace only objects similar in nature to
       those objects enumerated by the preceding specific words." Circuit
       City, 532 U.S. at 114-15 (alteration in original) (quoting 2A



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       the Act's pro-arbitration purpose counseled in favor of narrowly

       construing the Section 1 exemption. Id. at 118-19. Finally, while

       there was "sparse" legislative history on the Section 1 exemption,

       id.   at    119,   excluding   transportation         workers     from      the   FAA's

       coverage was consistent with "Congress'[s] demonstrated concern

       with transportation workers and their necessary role in the free

       flow of goods," id. at 121.

       B.    Scope of the Transportation Worker Exemption

                    Using the principles articulated in Circuit City as a

       guide, we turn now to the interpretive question raised in this

       case: does Waithaka belong to a "class of workers engaged in

       foreign or interstate commerce," such that his contract with

       appellants is exempt from the FAA's coverage?

                    In answering that question, we note that the Supreme

       Court recently held that the Section 1 exemption does not apply

       exclusively to contracts of "employees," but rather to "agreements

       to perform work," including those of independent contractors.                      New

       Prime Inc. v. Oliveira, 139 S. Ct. 532, 544 (2019).                   Accordingly,

       there is no dispute that the independent contractor agreement at

       issue here would fall within the Section 1 exemption if Waithaka

       qualifies as a transportation worker.




       Norman   J.  Singer,   Sutherland             on     Statutes      and      Statutory
       Construction § 47.17 (1991)).


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                   Importantly, in New Prime, the Court supplemented the

       interpretive guidance of Circuit City by instructing that we must

       interpret the Section 1 exemption according to the "fundamental

       canon of statutory construction that words generally should be

       interpreted as taking their ordinary . . . meaning . . . at the

       time Congress enacted the statute." 139 S. Ct. at 539 (alterations

       in original) (internal quotation marks omitted) (quoting Wisc.

       Cent. Ltd. v. United States, 138 S. Ct. 2067, 2074 (2018)).                As a

       threshold matter, the parties disagree about which words within

       the exemption (the Act does not apply "to contracts of employment

       of seamen, railroad employees, or any other class of workers

       engaged in foreign or interstate commerce," 9 U.S.C. § 1 (emphasis

       added)) are important to our interpretive task.                Amazon asserts

       that the key to understanding the scope of the residual clause is

       the meaning of the phrase "interstate commerce."                 Whether the

       contracts of a group of workers fall within the ambit of the

       clause, Amazon contends, turns on the activities the workers were

       hired to perform.        Only if the workers' activities themselves

       qualify     as    "interstate     commerce"6    can     they     qualify     as

       transportation workers whose employment contracts are exempt from

       the FAA.     Because Waithaka and his fellow local delivery drivers



            6 Because the parties do not contend that Waithaka "engaged
       in foreign . . . commerce," we focus only on the meaning of "engaged
       in . . . interstate commerce." See 9 U.S.C. § 1.


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       do not personally carry goods across state lines and engage only

       in intrastate activities, Amazon maintains that they are not

       covered by the residual clause.

                      Waithaka   counters       that      "engaged     in"    is    the   crucial

       phrase for understanding the exemption.                   When the FAA was enacted

       in 1925, Waithaka insists, there was an understanding that workers

       could be "engaged in . . . interstate commerce" without crossing

       state     lines;      rather,         this    phrase      included          workers     who

       "transport[ed]        goods     or      passengers        (or    facilitat[ed]          the

       transportation of goods and passengers) within a single state that

       [were] ultimately going to or coming from another state."

                      We agree with Waithaka that understanding the scope of

       the residual clause turns not only on the definition of "interstate

       commerce," but also on the words that precede that phrase: "engaged

       in."     The Court in Circuit City did not look solely to the phrase

       "interstate commerce" to interpret the scope of the Section 1

       exemption.       Rather, it emphasized the significance of the words

       modifying      that   phrase.         532    U.S.    at   115-17.       Therefore,       to

       determine what it meant to be "engaged in" interstate commerce in

       1925, and thus whether Waithaka and his fellow AmFlex workers fall

       within    the    scope    of    the    transportation         worker    exemption,       we

       consider the interpretation of statutes contemporaneous with the

       FAA,     the   sequence    of    the    text    of    the     exemption,      the     FAA's




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       structure, and the purpose of the exemption and the FAA itself.

       Cf. id. at 111-21.

            1.     Contemporaneous Statutes

                   In considering the scope of the phrase "engaged in"

       interstate commerce, the Court in Circuit City first rejected an

       argument that it should give the phrase "a broader construction

       than justified by its evident language" simply because the FAA was

       enacted at a time when Congress's power to regulate pursuant to

       the Commerce Clause was circumscribed.                 532 U.S. at 116-18.     The

       petitioner in Circuit City asserted that, because the phrase

       "engaged in . . . interstate commerce," as it was understood in

       1925, "came close to expressing the outer limits of Congress['s

       Commerce Clause] power as then understood," the Court should

       interpret the Section 1 exemption to be co-extensive now with the

       more expansive modern understanding of the Commerce Clause.                    Id.

       at 116.      According to the logic of the petitioner's argument,

       Congress    likely   thought      in    1925    that    it   was   excluding   all

       employment contracts within the scope of its Commerce Clause

       authority, and, hence, the Court should interpret Section 1 as

       exempting the broader range of contracts that are now understood

       to be within Congress's Commerce Clause authority.                 See id.

                   The Court rejected that argument, concluding that it

       would lead to a constantly shifting understanding of the meaning

       of the statutory language. Id. at 117. Rather, the Court affirmed


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       that its task in interpreting Section 1 was to assess the meaning

       of the words in the exemption when written.                   See id. at 117-19.

       Thus, it looked to the interpretation of similar phrases in

       statutes contemporaneous to the FAA.                Id. at 117-18.         Relying on

       its interpretation of the phrase "engaged in commerce" in the

       Clayton    Act,   enacted     in     1914,     the    Court    noted       that     this

       jurisdictional      phrase    "appears       to      denote   only        persons     or

       activities within the flow of interstate commerce."                       Id. at 118

       (quoting Gulf Oil Corp., 419 U.S. at 195).                       That definition

       reflected "[t]he plain meaning of the words 'engaged in commerce,'"

       which     "is   narrower     than    the     more     open-ended       formulations

       'affecting commerce' and 'involving commerce'" -- phrases that

       have been interpreted as expressing Congress's intent to exercise

       its Commerce Clause power to its fullest extent.7                   Id.

                   Consistent     with     the    approach    used    in   Circuit       City,

       Waithaka urges us to consider the Court's interpretation of a

       similar jurisdictional phrase in the Federal Employers' Liability



            7  In Circuit City, the Court acknowledged that common
       jurisdictional phrases like "engaged in interstate commerce" do
       not "necessarily have a uniform meaning whenever used by Congress."
       532 U.S. at 118 (quoting Am. Bldg. Maint. Indus., 422 U.S. at 277).
       Although Amazon seizes on this language, asserting that this
       admonition means we would be remiss to rely on the meaning given
       to these jurisdictional phrases in contemporaneously passed
       statutes, Amazon overstates the Court's qualification. By using
       as one of our interpretive tools the Court's interpretation of
       statutes contemporaneous with the FAA, we simply follow the Court's
       lead.


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       Act (the "FELA"), which he contends is particularly helpful for

       understanding what it meant for a transportation worker to be

       "engaged in interstate commerce" at the time of the FAA's enactment

       in 1925.     Passed in 1908, the FELA contains language nearly

       identical to that of Section 1 of the FAA.         45 U.S.C. § 51 (1908);

       see Tenney Eng'g, Inc. v. United Elec. Radio & Mach. Workers of

       Am., (U.E.) Local 437, 207 F.2d 450, 453 (3d Cir. 1953) (noting

       that Congress "must have had [the FELA] in mind" when drafting the

       residual clause in Section 1 of the FAA, given that Congress

       "incorporat[ed] almost exactly the same phraseology" into the

       FAA).

                  In relevant part, that statute provided that "[e]very

       common carrier by railroad while engaging in commerce between any

       of the several States . . . shall be liable in damages to any

       person suffering injury while he is employed by such carrier in

       such commerce."      45 U.S.C. § 51 (1908).         Congress passed this

       version of the FELA after the Supreme Court held that an earlier

       version -- which had provided coverage to all employees of a

       carrier engaged in interstate commerce -- went beyond Congress's

       Commerce Clause power, as it was then understood, and was therefore

       unconstitutional.     See The Employers' Liability Cases, 207 U.S.

       463, 498-99, 504 (1908).     Unlike the earlier version, the amended

       statute provided coverage only when both the railroad and the

       employee were "engaged in interstate commerce" at the time of the


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       injury.8     Second Employers' Liability Cases, 223 U.S. 1, 51-52

       (1912).

                   In numerous cases, the Supreme Court considered when a

       railroad employee was "engaged in interstate commerce," such that

       the FELA provided coverage for injuries sustained on the job.

       Whether a worker had moved across state lines was not dispositive.

       Rather, the Court concluded that workers "engaged in interstate

       commerce" did not refer only to those workers who themselves

       carried goods across state lines, but also included at least two

       other categories of people: (1) those who transported goods or

       passengers that were moving interstate, see, e.g., Phila. & Reading

       Ry. Co. v. Hancock, 253 U.S. 284, 285-86 (1920), and (2) those who

       were not involved in transport themselves but were in positions

       "so   closely   related"   to     interstate    transportation      "as   to   be

       practically a part of it," see Shanks v. Del., Lackwanna, & W.R.R.

       Co., 239 U.S. 556, 558-59 (1916) (collecting cases).

                   Although Waithaka contends that both categories supply

       helpful guidance for assessing whether workers with activities

       similar to his would have been "engaged in . . . interstate



             8Although the text of the FELA refers to workers "employed"
       in interstate commerce, the cases interpreting the statute say
       that the words "employed" and "engaged" are interchangeable. See,
       e.g., Phila., B. & W.R.R. Co. v. Smith, 250 U.S. 101, 102, 104
       (1919) (considering whether employee was "engaged in interstate
       commerce within the meaning of the statute" and concluding that
       "he was employed . . . in interstate commerce").


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       commerce" in 1925, we limit our focus to the first group -- those

       who transported goods themselves.              Because there is no dispute

       that Waithaka and other AmFlex workers are involved in such

       transport, the FELA precedents pertaining to the narrower category

       of workers who were themselves transporting goods that were moving

       between states are most relevant for our purpose.              Accordingly, we

       do not determine whether the second category of workers considered

       to be "engaged in interstate commerce" for purposes of the FELA --

       those who were "engaged in interstate commerce" by virtue of the

       close       relationship     between      their      work     and        interstate

       transportation -- are also transportation workers "engaged in

       . . . interstate commerce" for purposes of the FAA.9

                     We therefore focus on the FELA precedents pertaining to

       workers who were transporting goods that were moving interstate


               9
              In declining to consider the applicability of this second
       line of cases from the FELA context to the FAA, we do not imply
       that the contracts of workers "practically a part" of interstate
       transportation -- such as workers sorting goods in warehouses
       during their interstate journeys or servicing cars or trucks used
       to make deliveries -- necessarily fall outside the scope of the
       Section 1 exemption. Some of our sister circuits have described
       Section 1 as covering workers "who are actually engaged in the
       movement of interstate or foreign commerce or in work so closely
       related thereto as to be in practical effect part of it." See,
       e.g., Tenney, 207 F.2d at 452.        And in 1925 the preceding
       categories of "seamen" and "railroad employees" were understood to
       include workers who were not themselves engaged in transportation
       activities. See New Prime, 139 S. Ct. at 542-43 (noting that "[a]t
       the time of the [FAA]'s passage, shipboard surgeons who tended
       injured sailors were considered 'seamen'").      Nevertheless, we
       choose to decide this case narrowly, leaving for another day the
       resolution of the "closely related to" question.


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       -- consistent with Circuit City's own focus on "the flow of

       interstate commerce." Examining these cases reveals that the Court

       consistently has held that a worker transporting goods that had

       come from out of state or that were destined for out-of-state

       locations   was   "engaged   in   interstate    commerce,"      even   if    the

       worker's role in transporting the goods occurred entirely within

       a single state.     In Seaboard Air Line Railway v. Moore, 228 U.S.

       433 (1913), the Court held that a railroad worker thrown from a

       train was "engaged in interstate commerce" at the time of his

       injury because the train was hauling two freight cars of lumber in

       Florida that were destined for New Jersey.           Id. at 434-35.         And,

       in Philadelphia & Reading Railway Co. v. Hancock, 253 U.S. 284

       (1920), the Court concluded that an injured railroad worker who

       was operating a train loaded with coal to be shipped out of state

       was engaged in interstate commerce, even though he was operating

       the train exclusively in Pennsylvania as it carried coal two miles

       from a coal mine to a railroad storage yard.           Id. at 285-86.       The

       Court noted that

                   [t]he coal was in the course of transportation
                   to another state when the cars left the mine.
                   There was no interruption of the movement; it
                   always continued towards points as originally
                   intended.   The determining circumstance is
                   that the shipment was but a step in the
                   transportation of the coal to real and
                   ultimate destinations in another state.




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       Id. at 286.       Ultimately, the Court concluded that a "trainman" was

       employed in interstate commerce "if any of the cars in his train

       contained interstate freight."             Id. at 285.

                      However, when a railroad worker was working on a railroad

       car that was not carrying goods destined for or coming from another

       state, the Court drew the line and concluded that the worker was

       not, at that point, "engaged in interstate commerce."                         See Ill.

       Cent. R.R. Co. v. Behrens, 233 U.S. 473, 477-78 (1914) (holding

       that     a    worker    moving   several   freight       cars   "all    loaded    with

       intrastate freight" within the city of New Orleans when he was

       fatally injured was not engaged in interstate commerce).

                      Amazon     marshals   several       reasons      why     these     FELA

       precedents do not shed light on the meaning of "engaged in . . .

       interstate commerce" within Section 1 of the FAA.                      First, Amazon

       contends that Circuit City dismisses the FELA specifically as

       irrelevant to interpreting the FAA.              This contention misconstrues

       Circuit City.          There, the Court referenced two cases interpreting

       the FELA in recognizing that, in the early twentieth century,

       "engaged in interstate commerce" "came close to expressing the

       outer limits of Congress'[s] power as then understood."                       532 U.S.

       at 116 (citing The Employers' Liability Cases, 207 U.S. at 498,

       and    Second      Employers'    Liability      Cases,    223   U.S.     at    48-49).

       However, by discussing these cases and, as we have already noted,

       refusing to interpret the phrase "engaged in interstate commerce"


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       based on the modern understanding of the Commerce Clause power,

       the   Court    did   not,    as   Amazon   contends,   dismiss     the    FELA   as

       irrelevant for interpreting the meaning of those words in the FAA.

       Hence, by looking to these FELA precedents to understand the

       original meaning of the phrase in 1925, we are not engaging in a

       method of interpretation that Circuit City forbids.

                     Amazon also asserts that these FELA cases are inapt

       because the focuses of the FELA and the FAA differ.                      Whether a

       class of workers' employment contracts are exempt from the FAA

       turns on whether the workers are "engaged in . . . interstate

       commerce,"     whereas      the   FELA's   coverage,   according     to    Amazon,

       turned on whether a railroad carrier for whom an injured employee

       worked was engaged in interstate commerce.                  But this argument

       overlooks Congress's amendments to the FELA in 1908 and the holding

       of the Second Employers' Liability Cases described above: the FELA

       applied only when both the carrier and the injured employee had

       been engaged in interstate commerce.            223 U.S. at 51-52.        That is,

       the FELA was concerned with the activities of employees, just as

       the FAA is.      Indeed, in Moore, Hancock, and Behrens -- the FELA

       precedents that we have discussed, the question before the Court

       was the same as it is here: whether certain transportation workers

       engaged in interstate commerce.

                     Amazon also contends that, because the FELA is a remedial

       statute that has been construed liberally, see Atchison, Topeka &


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       Santa Fe Ry. Co. v. Buell, 480 U.S. 557, 561-62 (1987), it is a

       poor guide for interpreting the FAA exemption, which must be given

       "a narrow construction" in light of the FAA's purpose, see Circuit

       City, 532 U.S. at 118-19.           Specifically, Amazon emphasizes that

       the      remedial   purpose   of     the   FELA    may    have,    in   certain

       circumstances, influenced the Court's interpretation of the scope

       of the FELA's coverage.       See Shanks, 239 U.S. at 558 (noting that,

       given "the nature and usual course of the business to which the

       [FELA] relates and the evident purpose of Congress in adopting"

       it, the phrase "engaged in interstate commerce" should not be

       interpreted in a "technical legal sense" and thus should include

       those workers "so closely related" to interstate transportation

       "as to be practically a part of it").                   However, there is no

       indication that the remedial purpose of the FELA affected the

       Supreme Court's conclusion that injured railroad workers who were

       transporting within one state goods destined for or coming from

       other     states    -- activities    comparable    to    those    performed   by

       Waithaka -- were engaged in interstate commerce.                    See, e.g.,

       Hancock, 253 U.S. at 285-86 (concluding, without reference to the

       purpose or liberal construction of the FELA, that a worker engaged




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       exclusively in local transport of goods destined for another state

       was "engaged in interstate commerce").10

                   Thus, contrary to Amazon's contentions, the FELA cases

       concerning workers directly involved in transport advance our

       understanding of the Section 1 exemption.             Consistent with the

       Supreme Court's focus on "the flow of interstate commerce" in

       Circuit City, these cases show that workers moving goods or people

       destined for, or coming from, other states -- even if the workers

       were responsible only for an intrastate leg of that interstate

       journey -- were understood to be "engaged in interstate commerce"

       in 1925.

                   To test this conclusion about the original meaning of

       the residual clause, based on the FELA precedents, we look to the

       other interpretive principles identified in Circuit City, which

       Amazon insists support its reading of Section 1.

            2.     Sequence of the Words in Section 1

                   Amazon contends that a textual feature of the residual

       clause supports its position that the Section 1 exemption covers

       only workers who themselves cross state lines.                 Specifically,

       Amazon notes that the phrase "engaged in . . . interstate commerce"


            10Again, we do not imply that the contracts of workers "so
       closely related" to interstate transportation "as to be
       practically a part of it" fall outside (or inside) the scope of
       the Section 1 exemption. See Shanks, 239 U.S. at 558. We are
       simply maintaining our focus on those workers who themselves
       transport goods.


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       follows "any class of workers" in the residual clause, without

       reference to the business of the engaging company.                     Because of

       this sequence, Amazon contends that the activities of the workers

       themselves are the crux of the exemption, without consideration of

       the geographic footprint and nature of the business for which they

       work.

                  Although our ultimate inquiry is whether a class of

       workers is "engaged in . . . interstate commerce," the question

       remains how we make that determination. The nature of the business

       for which a class of workers perform their activities must inform

       that assessment.     After all, workers' activities are not pursued

       for their own sake.      Rather, they carry out the objectives of a

       business, which may or may not involve the movement of "persons or

       activities within the flow of interstate commerce," Circuit City,

       532 U.S. at 118 (quoting Gulf Oil Corp., 419 U.S. at 195) -- the

       crucial concept reflected in the FELA precedents.                See Singh v.

       Uber Techs. Inc., 939 F.3d 210, 227-28 (3d Cir. 2019) (noting that,

       on   remand,   the   district    court      might   consider     "information

       regarding the industry in which the class of workers is engaged"

       and "information regarding the work performed by those workers,"

       among other factors, to determine whether a group of workers is

       "engaged in interstate commerce" and thus exempt from the FAA).

       Moreover, the language of the residual clause does not foreclose

       taking into account the company's business when considering how to


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       classify the nature and activities of the workers at issue.

       Accordingly, Amazon's contention about the textual focus of the

       exemption does not alter our conclusion that we may consider the

       nature of the business to assess whether workers' activities

       include the transportation of goods or people in the flow of

       interstate commerce.

                    This      conclusion     faithfully      adheres     to   the    ejusdem

       generis canon, invoked by the Court in Circuit City. Consideration

       of the nature of the hiring company's business carries out the

       Supreme Court's instruction that we must construe the residual

       clause of Section 1 consistently with the specific preceding

       categories of workers -- "seamen" and "railroad employees" -- whose

       employment contracts are exempt from the FAA.                    See Circuit City,

       532 U.S. at 114-15.          Plainly, these groups, defined by the nature

       of   the    business       for   which    they     work,   demonstrate       that   the

       activities        of   a    company      are   relevant     in    determining       the

       applicability of the FAA exemption to other classes of workers.

                    By    considering      the    nature    of    the   business     to    help

       determine whether its workers are transporting goods or people

       moving in interstate commerce, we do not ignore the importance of

       the workers' own connection to interstate commerce as Amazon

       contends.     And, to be clear, we do not hold that a class of workers

       must be employed by an interstate transportation business or a

       business of a certain geographic scope to fall within the Section


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       1 exemption.         We simply point out, as is evident here, that the

       nature      of    the   business    for    which   the   workers     perform     their

       activities is important in determining whether the contracts of a

       class of workers are covered by Section 1.

              3.        Structure of the Residual Clause and the FAA

                        In another effort to bolster its limited interpretation

       of the exemption, Amazon points to the broader structure of the

       FAA.     In Circuit City, the Supreme Court noted that "engaged in

       . . . interstate commerce" in Section 1 must be interpreted more

       narrowly than "involving commerce" in Section 2 of the FAA.                          Id.

       at 115-16.        Amazon argues that interpreting the residual clause to

       encompass workers who are transporting goods within the flow of

       interstate commerce eliminates the distinction between Sections 1

       and 2 and conflates the phrase "engaged in .                     .      . interstate

       commerce"        with   "involving    commerce,"     contrary      to   the   Supreme

       Court's directive in Circuit City.

                        This argument plainly fails.            In Circuit City, the

       Supreme Court rejected the view that Section 1 encompasses all

       employment contracts with a connection to interstate commerce --

       a construction that would treat the words "engaged in . . .

       interstate        commerce"   as     reflecting     "congressional          intent    to

       regulate to the full extent of [Congress's] commerce power," i.e.,

       to have the same reach as the Court previously had given to the

       phrase "involving commerce" in Section 2.                    Id. at 114-15.           In


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       dismissing that construction of Section 1, the Court stated that

       the operative jurisdictional words in Section 2 -- "involving

       commerce" -- connote a broader reach than the words "engaged in

       . . . interstate commerce," and similar terms of art, which refer

       only to "persons or activities within the flow of interstate

       commerce."    Id. at 118 (quoting Gulf Oil Corp., 419 U.S. at 195);

       see also Allied-Bruce, 513 U.S. at 273 (noting that operative

       jurisdictional       words   in   Section      2   of    the   FAA   --     "involving

       commerce" -- were broader than the "often-found words of art 'in

       commerce,'" which referred only to "'persons or activities within

       the flow of interstate commerce'") (emphasis in original) (citing

       Am. Bldg. Maint. Indus., 422 U.S. at 276)).

                    Thus,    Circuit     City   itself         preserves    a    distinction

       between the different phrases in Sections 1 and 2.                        We are not

       negating that distinction, as Amazon contends, by reading Section

       1's exemption to cover certain transportation workers who do not

       personally cross state lines, based on their particular tasks and

       the nature of the business of their employers.                   To the contrary,

       our conclusion that the residual clause exempts the contracts of

       workers transporting goods or people within the flow of interstate

       commerce adopts the meaning of the phrase "engaged in . . .

       interstate commerce" that the Court itself said preserved the

       distinction between the two phrases used in Sections 1 and 2.

       Hence, nothing in the structure of the FAA alters our understanding


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       of the original meaning of the "engaged in . . . interstate

       commerce" language of the residual clause.

             4.       Purpose of the FAA

                      In a further effort to convince us that the residual

       clause applies only when a worker transports goods across state

       lines, Amazon argues that the contracts of Waithaka and his fellow

       local delivery workers cannot be covered by the residual clause

       for      two   additional       reasons:         (1)     exempting       the     employment

       agreements of such local workers would be inconsistent with the

       pro-arbitration          purpose     of    the    FAA      and     the   Supreme    Court's

       instruction, in light of the Act's purpose, that we narrowly

       construe Section 1; and (2) adopting Waithaka's view of the

       exemption       would    make   it    difficult         to     administer      and,      thus,

       frustrate       the     Act's      goal     of     reducing         litigation      on     the

       enforceability of arbitration agreements.

                      We   recognize      that     the      FAA     was    enacted    to   counter

       hostility       toward    arbitration        and       that,     accordingly,       we    must

       narrowly construe the statutory exemption from the Act.                                   See

       Circuit City, 532 U.S. at 111, 118-19.                         However, the FAA's pro-

       arbitration purpose cannot override the original meaning of the

       statute's text.          See New Prime, 139 S. Ct. at 543 (rejecting a

       narrower       construction     of    the     FAA's        exemption     provision,      even

       though     that     construction          advanced      the      Act's   pro-arbitration

       policy).       Moreover, construing the exemption to include workers


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       transporting      goods   within    the    flow   of    interstate     commerce

       advances,    rather    than   undermines,      "Congress'[s]     demonstrated

       concern with transportation workers and their necessary role in

       the free flow of goods."      See Circuit City, 532 U.S. at 121.

                   Amazon also offers a more tailored argument about the

       statute's purpose and legislative history.              In Circuit City, the

       Supreme Court observed that Congress may have carved out the

       contracts of seamen and railroad employees from the FAA because of

       existing alternative dispute resolution schemes for those groups

       of workers.       Id. at 120-21.       By that logic, Amazon contends,

       Congress could not have intended to exempt local delivery drivers

       like Waithaka because no such alternative exists for them.

                   Amazon's argument is unavailing for several reasons.

       First, the Supreme Court in Circuit City specifically disclaimed

       reliance on this legislative history as the basis for its holding.

       Id. at 119.      Rather, the text of Section 1 determined the outcome

       of that case.      Id. at 119-21.     Indeed, the Court stated that the

       legislative history of Section 1 was "quite sparse."               Id. at 119.

                   Second, the Court addressed congressional intent only in

       response to an argument that construing the residual clause to

       exempt    only     transportation     workers     would    "attribute[]      an

       irrational intent to Congress."           Id. at 121.    The Court explained

       that "[i]t is reasonable to assume that Congress excluded 'seamen'

       and 'railroad employees' from the FAA for the simple reason that


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       it did not wish to unsettle established or developing statutory

       dispute resolution schemes covering specific workers," and that

       "[i]t would be rational for Congress to ensure that workers in

       general would be covered by the provisions of the FAA, while

       reserving for itself more specific legislation for those engaged

       in transportation."         Id.    However, in offering this explanation

       for Congress's exemption of certain transportation workers, the

       Court    did   not   say    that    Section    1   applied    exclusively      to

       transportation workers for whom an alternative dispute resolution

       system existed. We see no basis for treating the Court's inference

       about Congress's rationale for excluding specific industries as a

       principle limiting the application of the transportation worker

       exemption going forward.          See Singh, 939 F.3d at 224-26.         Indeed,

       the residual clause means that Congress contemplated the future

       exclusion of workers other than railroad employees and seamen, and

       it did not limit that exclusion to those with available alternative

       dispute resolution systems.           Purpose cannot override text.           See

       New Prime, 139 S. Ct. at 543.             If Congress had wished, it could

       have exempted only "seamen" and "railroad employees," but, as

       enacted, Section 1's exemption also includes a residual clause.

                  Amazon's argument about the Act's purpose to reduce

       litigation over arbitration agreements fares no better.                   Amazon

       contends that a decision in Waithaka's favor would introduce

       uncertainty     about      the    FAA's   coverage    and    spawn      extensive


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       litigation about the scope of the residual clause.                 This scenario,

       Amazon maintains, would "undermin[e] the FAA's pro[-]arbitration

       purposes and 'breed[] litigation from a statute that seeks to avoid

       it.'"        Circuit City, 532 U.S. at 123 (quoting Allied-Bruce, 513

       U.S. at 275).           But, as Waithaka points out, the notion that

       Amazon's proposed standard would create an easily administrable,

       bright-line rule is illusory.              If crossing state lines were the

       touchstone of the exemption's test, the parties would still engage

       in discovery to determine how often a class of workers moved

       interstate and would litigate what portion of a given group of

       workers must cross state lines and with what frequency to qualify

       as a class of workers "engaged in . . . interstate commerce."

                      Moreover,    the      line-drawing     conundrum      that    Amazon

       identifies would not stem from our decision.                    Rather, it is a

       product of Circuit City itself.              In concluding that the residual

       clause does not encompass all employment contracts, but only those

       of transportation workers, the Court left it to the lower courts

       to assess which workers fall within that category.                         Doing so

       unavoidably requires the line-drawing that courts often do.

               5.     Conclusion

                      In   sum,   we   reject    Amazon's   cramped    construction      of

       Section 1's exemption for transportation workers.                    The original

       meaning of the phrase "engaged in . . . interstate commerce,"

       revealed by the FELA precedents, and the text, structure, and


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       purpose of the FAA, all point to the same conclusion: Waithaka and

       other last-mile delivery workers who haul goods on the final legs

       of interstate journeys are transportation workers "engaged in

       . . . interstate commerce," regardless of whether the workers

       themselves physically cross state lines.11                By virtue of their work

       transporting    goods     or   people    "within      the    flow     of    interstate

       commerce," see Circuit City, 532 U.S. at 118, Waithaka and other

       AmFlex workers are "a class of workers engaged in . . . interstate

       commerce."      Accordingly, the FAA does not govern this dispute,

       and it provides no basis for compelling the individual arbitration

       required by the dispute resolution section of the Agreement at

       issue here.

                                               III.

                    Having    concluded   that      the    FAA     does    not    govern   the

       enforceability of the dispute resolution section of the Agreement,

       with its requirement of individual arbitration, we must now decide

       whether such arbitration may still be compelled pursuant to state

       law.     Because the parties dispute which state's law -- that of

       Washington     or     Massachusetts     --     governs       that     enforceability

       question, our analysis proceeds in two parts.                      First, we analyze



              11 Although Amazon has relied heavily on the fact that Waithaka

       has not crossed state lines in the course of performing his AmFlex
       work, Amazon has never contested that products he and other AmFlex
       workers deliver cross state lines to reach their final
       destinations.


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       the      contract's      choice-of-law    and     severability       language      to

       determine the governing law. We conclude that the contract selects

       the law of Washington.          Then, we consider whether conflict-of-law

       principles permit the enforceability of that contractual choice of

       Washington law. Because we conclude that Massachusetts would treat

       the class waiver provisions in the Agreement as contrary to the

       Commonwealth's         fundamental   public     policy    and   that,      based   on

       conflict-of-laws principles, the contractual choice of Washington

       law would be unenforceable if it would permit such waivers, we

       decide that individual arbitration cannot be compelled pursuant to

       state     law    here.     We   proceed    with    an    explanation       of   these

       conclusions.

       A.      Contractual Governing Law

                       To   demonstrate   that   Washington      law   applies,        Amazon

       points to two aspects of the Agreement: the governing law section

       and the severability provision.            To reiterate, the governing law

       section states that "[t]he interpretation of this Agreement is

       governed by the law of the state of Washington without regard to

       its conflict of laws principles, except for [the dispute resolution

       section], which is governed by the [FAA] and applicable federal

       law."     The severability provision states that "[i]f any provision

       of this Agreement is determined to be unenforceable, the parties

       intend that this Agreement be enforced as if the unenforceable

       provisions were not present and that any partially valid and


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       enforceable     provisions    be    enforced     to   the    fullest    extent

       permissible under applicable law."

                   Amazon asserts that, read in combination, these two

       aspects of the Agreement require that Washington law governs the

       enforceability of the class waiver and arbitration provisions in

       the Agreement.      Anticipating the possibility that the FAA might

       not apply to Waithaka's claims, Amazon advocates striking the

       provision in the governing law section stating that the "FAA and

       applicable federal law" govern the dispute resolution section of

       the Agreement, which includes the class waiver and arbitration

       provisions.12     Likewise, the portion of the dispute resolution

       section stating that "the Federal Arbitration Act and applicable

       federal law [will] govern any dispute that may arise between the

       parties" must be severed.          What remains is an express choice of

       Washington law to govern the "interpretation of the Agreement,"

       regardless of Washington's conflict-of-laws principles.

                   Waithaka asserts a different reading of the Agreement.

       Given that the governing law section states that Washington law

       will apply to the interpretation of the entire Agreement except



            12 Waithaka argues that Amazon forfeited this argument by
       failing to explain in its briefing to the district court how the
       severability provision affected the choice-of-law analysis.
       However, the severability argument was raised below and the
       district court addressed it in a footnote in its decision. See
       Waithaka, 404 F. Supp. 3d at 344 n.4. We conclude that Amazon
       sufficiently preserved this argument and developed it on appeal.


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       the dispute resolution section, Waithaka argues that Amazon cannot

       now claim that Washington law applies to that section in lieu of

       the FAA.       Since Amazon did not specify in the Agreement what law

       applies to the dispute resolution section in the event a court

       concludes that the FAA is inapplicable, as we have here, Waithaka

       contends that there is no applicable contractual choice of law.

       In that absence, Massachusetts law applies to the enforceability

       of the arbitration provision in the dispute resolution section and

       its waiver of any class action proceedings.              Waithaka urges that

       Amazon should bear the burden of failing to anticipate the present

       scenario and, like the district court, we should hold Amazon to

       its own "inartful drafting."           Waithaka, 404 F. Supp. 3d at 344

       n.5.

                     We agree with Waithaka and the district court that Amazon

       could have specified more clearly what law applies to the dispute

       resolution section when the FAA is inapplicable.13                  See, e.g.,


              13
               We note another puzzling aspect of the governing law
       section: its intended scope. While the section's directive that
       "[t]his agreement is governed by the law of the state of Washington
       without regard to its conflict of laws principles" makes abundantly
       clear Amazon's strong preference for that state's law, which might
       be ousted by the application of Washington's own conflict-of-law
       principles, we wonder why Amazon limited that choice of Washington
       law to the "interpretation of the Agreement." Ultimately, however,
       we disagree with Waithaka's position that this limitation means
       that Washington law does not apply to the dispute resolution
       section of the Agreement. As Amazon points out, the governing law
       section describes the FAA as, in effect, governing "[t]he
       interpretation of . . . [the dispute resolution section]." Thus,



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       Palcko v. Airborne Express, Inc., 372 F.3d 588, 590 (3d Cir. 2004)

       (interpreting a choice-of-law provision that stated explicitly

       that "[t]o the extent that the [FAA] is inapplicable, Washington

       law pertaining to agreements to arbitrate shall apply").                         But

       Amazon's shortcomings in drafting the Agreement do not alter our

       ultimate conclusion: the severability argument put forward by

       Amazon -- to which Waithaka fails to provide any rebuttal --

       prevails.     Because the FAA is inapplicable, the portions of the

       governing law and dispute resolution sections selecting the FAA

       must be stricken from the Agreement, leaving Washington law as the

       default choice of law for assessing the enforceability of the

       arbitration and class waiver provisions of the parties' contract.

       B.    Conflict-of-Law Analysis

                   Despite     the    contractual     choice   of   Washington       law,

       Waithaka     contends    that     arbitration     nevertheless      cannot        be

       compelled pursuant to state law.               He offers two arguments to

       support that conclusion.           First, relying on Scott v. Cingular

       Wireless, 161 P.3d 1000 (Wash. 2007) (en banc), he contends that

       arbitration cannot be compelled even under Washington law.                  But to

       the extent Washington law would permit the arbitration provision

       to   be   enforced,     he    asserts   that   the   contractual        choice    of



       if the FAA is inapplicable and Washington law applies as a
       fallback, Washington law must apply to the interpretation of the
       dispute resolution section just as the FAA would.


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       Washington law is itself unenforceable under a conflict-of-law

       analysis.         As he puts it, a contractual choice of law cannot

       deprive him of "unwaivable statutory rights under Massachusetts

       law," including the right to bring his claims as a class action.

       According to Waithaka's conflict-of-law argument, the dispute

       resolution section of the Agreement does not simply require an

       arbitral forum.        It also includes the class waiver provisions that

       apply to both judicial and arbitral forums.                   Including such class

       waiver provisions in employment contracts, Waithaka contends,

       violates fundamental Massachusetts public policy.                       He therefore

       insists that, based on conflict-of-law principles, the contractual

       choice of Washington law is unenforceable if it would permit the

       class waiver provisions.           We proceed to analyze Waithaka's second

       argument, assuming for purposes of deciding whether arbitration

       can be compelled here that Washington law would permit the class

       waiver provisions in the Agreement.14

                      Before we assess this conflict-of-law argument, we must

       pose     a    question.     Even     if    the     class   waiver    provisions    are

       unenforceable, as Waithaka argues, could he still be forced to

       bring his claims in an arbitral forum, albeit as a class action?


              14
               If Waithaka prevails on his conflict-of-law argument but
       our assumption about Washington law is incorrect, the outcome in
       this case would be the same.      That is, if the class waiver
       provisions are in fact unenforceable under Washington law,
       arbitration could not be compelled pursuant to state law, albeit
       based on Washington rather than Massachusetts law.


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       The Agreement itself answers that question.                     It "does not provide

       for, and the parties do not consent to, arbitration on a class,

       collective         or    representative     basis."          The    Agreement         states

       explicitly that it "shall not be interpreted as requiring either

       party        to    arbitrate     disputes     on       a    class,     collective         or

       representative basis, even if a court or arbitrator invalidates or

       modifies or declines to enforce this Agreement in whole or in

       part."        In other words, the class waiver provisions cannot be

       severed from the rest of the dispute resolution section.                             If they

       are      unenforceable,          the    arbitration           provision         is      also

       unenforceable.15          Thus, our assessment of Waithaka's conflict-of-

       law argument -- that the class waiver provisions are unenforceable

       -- will be dispositive of the final question presented here: can

       arbitration be compelled at all pursuant to state law?

                         We    therefore    turn   to     Waithaka's         conflict-of-law

       argument.          We begin by reviewing the statutory claims he asserts

       and Massachusetts's treatment of class waivers in the context of

       such     claims.         We   then   undertake     a    conflict-of-law         analysis,




               15
              Our conclusion that we cannot order class arbitration based
       on the terms of the Agreement is consistent with the Supreme
       Court's conclusion that class arbitration may not be compelled
       unless the arbitration agreement specifically contemplates that
       form of arbitration. As the Supreme Court put it, the "changes
       brought about by the shift from bilateral arbitration to class-
       action arbitration" are "fundamental." See Stolt-Nielsen S.A. v.
       AnimalFeeds Int'l Corp., 559 U.S. 662, 686 (2010).


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       considering the contractual governing law and Massachusetts public

       policy.

               1.      Statutory Claims and Massachusetts Public Policy

                       Waithaka asserts three claims on behalf of himself and

       others similarly situated under the Massachusetts Wage Act, the

       Independent Contractor Misclassification Law, and the Minimum Wage

       Law.     Mass. Gen. Laws ch. 149, §§ 148, 148B & ch. 151, § 1.16                    For

       each of these statutory provisions, Massachusetts law creates a

       private right of action by which a person "may institute and

       prosecute in his own name and on his own behalf, or for himself

       and for others similarly situated, a civil action for injunctive

       relief, for any damages," and other relevant relief.                      Id. ch. 149,

       § 150 & ch. 151, § 20 (emphasis added).                        The right to pursue

       classwide        relief   for    Wage     Act    and        Independent     Contractor

       Misclassification Law claims is further protected by a provision

       that precludes the contractual waiver of certain rights under those

       statutes.        Id. ch. 149, § 148.      This anti-waiver provision states

       that "[n]o person shall by a special contract with an employee or

       by any other means exempt himself from" Section 150, which, in

       turn,        provides   the   statutory    right       to    pursue   Wage    Act   and




               16
              In his claim concerning the Minimum Wage Law, Waithaka also
       cites Mass. Gen. Laws ch. 151, § 7, which delineates the
       commissioner's duties in establishing minimum fair wages.


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       Independent Contractor Misclassification Law claims on a class

       basis.   Id. ch. 149, §§ 148, 150.

                  Waithaka contends that these statutory provisions create

       a   substantive   right     to     bring     class     actions    and     that,   in

       Massachusetts, the protection of that right reflects a fundamental

       public policy of the state. To support that claim, Waithaka relies

       on Feeney v. Dell, Inc., 908 N.E.2d 753 (Mass. 2009) ("Feeney I"),

       and Machado v. System4 LLC, 989 N.E.2d 464 (Mass. 2013).                       As we

       will explain, Feeney I considered a question similar to that raised

       by Waithaka's argument: whether the right to bring a consumer class

       action pursuant to another Massachusetts statute represented the

       fundamental    public     policy    of     the    Commonwealth,     and     thereby

       precluded the contractual waiver of the right to bring such an

       action. 908 N.E.2d at 761-765. Although the Massachusetts Supreme

       Judicial Court ("SJC") concluded that the Commonwealth's public

       policy   did   preclude    such    a    waiver,      id.,   the   Supreme    Court,

       interpreting the FAA in AT&T Mobility LLC v. Concepcion, 563 U.S.

       333 (2001), forced a modification of that holding in a later

       Massachusetts case, see Feeney v. Dell, Inc., 989 N.E.2d 439, 440-

       41 (Mass. 2013) ("Feeney II").             Both Feeney I and Feeney II, the

       intervening Supreme Court decision in Concepcion, and Machado are

       all essential precedent on the conflict-of-law question presented

       here, and we therefore describe the reasoning of each case.




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                     In Feeney I, the SJC concluded that the statutory right

       to pursue claims as a class provided by the Massachusetts consumer

       protection       act   represented     the    fundamental       public       policy   of

       Massachusetts.         908 N.E.2d at 762.        The SJC cited several reasons

       for    that     conclusion.      First,       the    Massachusetts       legislature

       "expressly provided for such [class action] mechanisms" in Section

       9(2) of Chapter 93A.            Id.      The legislative history of that

       provision demonstrated a particular concern for the "aggregation

       of small consumer protection claims," which a consumer might

       otherwise be unwilling or unable to pursue as an individual claim.

       Id.    at    762-63.       Moreover,     prohibiting        class    actions      would

       "undermine[] the public interest in deterring wrongdoing" and

       would "negatively affect[] the rights of those unnamed class

       members on whose behalf the class action would proceed."                        Id. at

       764.

                     Having     concluded     that      Massachusetts      public      policy

       strongly favors class actions in the consumer context, the SJC

       considered whether it could invalidate a class waiver -- which was

       embedded within a mandatory arbitration clause governed by the FAA

       -- on those state public policy grounds without risking preemption

       by the FAA in this period prior to Concepcion.                      Id. at 768-69.

       Finding that the FAA presented no such barrier, see id. at 769,

       the SJC declined to enforce the class waiver, id. at 765.                      To rule

       otherwise, the SJC noted, "would in effect sanction a waiver of


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       the right" granted by Massachusetts consumer protection law to

       bring a class action in an arbitral or judicial forum.                      Id.

                       Soon thereafter, however, the Supreme Court decided

       Concepcion.           Reviewing California's treatment of class action

       waivers in consumer contracts, the Court explained that the FAA

       limits a state's ability to invalidate class waiver provisions in

       arbitration clauses based on the state's public policy.                      563 U.S.

       at 344-52.17       Based on the reasoning and holding of Concepcion, the

       SJC concluded that it had misunderstood the FAA's preemptive effect

       on   the      Commonwealth's   public       policy.      Accordingly,       following

       Concepcion, the SJC revisited its Feeney I holding in Feeney II.

       See Feeney II, 989 N.E.2d at 441.

                       There, the SJC explained that it now understood that the

       FAA, as interpreted by Concepcion, "precludes the invalidation of

       class        waiver   provisions     in    arbitration     clauses    in     consumer

       contracts . . . where the reason for invalidation is that such

       waivers are contrary to the fundamental public policy of the


               17
               Specifically, the Supreme Court decided in Concepcion
       whether the FAA "prohibits States from conditioning the
       enforceability   of   certain  arbitration   agreements   on   the
       availability of classwide arbitration procedures." 563 U.S. at
       336.   It identified two scenarios in which state law would be
       preempted by the FAA: (1) where a state law "prohibits outright
       the arbitration of a particular type of claim," and (2) where a
       state   law   "doctrine   normally   thought   to   be   generally
       applicable . . . is alleged to have been applied in a fashion that
       disfavors arbitration," and such an application "stand[s] as an
       obstacle to the accomplishment of the FAA's objectives." Id. at
       341-43.


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       Commonwealth."     Id.   Moreover, "[b]ecause that was [the SJC's]

       primary reason in Feeney I for invalidating the class waiver

       provision in the arbitration agreement, Concepcion undoes the

       principal rationale for [its] decision in Feeney I." Id. In other

       words, the fact that a class waiver in a consumer contract violated

       a consumer's statutory right to bring class claims under Chapter

       93A was no longer relevant in determining whether the waiver could

       be enforced if     the waiver appeared in an arbitration clause

       governed by the FAA.

                  Nevertheless, the SJC identified in Feeney II one ground

       for invalidating a class waiver that survived Concepcion's ruling

       on the preemptive scope of the FAA: when a consumer demonstrates

       that she "effectively cannot pursue a claim against the defendant

       in individual arbitration according to the terms of the agreement,

       thus rendering . . . her claim nonremediable."                Id.    The SJC

       reasoned that Congress's intent in enacting the FAA

                  was to preserve the availability of an
                  arbitral forum and remedy for the resolution
                  of disputes between parties to a commercial
                  contract, and that it would be contrary to
                  Congressional intent to interpret the FAA to
                  permit arbitration clauses that effectively
                  deny consumers any remedy for wrongs committed
                  in violation of other Federal and State laws
                  intended to protect them.

       Id.

                  Under this new standard, a Massachusetts court had to

       determine whether a plaintiff had proven "as a matter of fact"


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       that the particular class waiver, in combination with the other

       terms of an arbitration agreement, made her claim nonremediable,

       effectively allowing an arbitration agreement to "confer[ on a

       defendant] . . . de facto immunity from private civil liability

       for violations of State law."         Id. at 462-63.      To assess whether

       a particular class waiver rendered claims nonremediable, a court

       could consider, among other things, the complexity of the claims

       asserted, the amount of damages sought, and the presence of fee-

       shifting provisions.      See id.18

                   On the same day the SJC issued Feeney II, the SJC issued

       Machado, which considered whether the reasoning articulated in

       Feeney I, applicable to class waivers in consumer contracts, as

       now modified by Feeney II, also applied to class action waivers in



            18 This proposition had a brief life. Just eight days after
       the SJC issued Feeney II, the Supreme Court decided American
       Express Co. v. Italian Colors Restaurant, 570 U.S. 228 (2013).
       Although the Court was not directly reviewing Feeney II, the
       Court's ruling made clear that the ground on which the SJC believed
       it could still invalidate a class waiver without risking preemption
       by the FAA did not, in fact, survive Concepcion.       See Italian
       Colors, 570 U.S. at 238 (holding that a class waiver in an
       arbitration agreement is enforceable under the FAA even when a
       plaintiff shows that the waiver will prevent her from vindicating
       her statutory rights). Thus, the SJC issued Feeney v. Dell, Inc.,
       993 N.E.2d 329 (Mass. 2013) ("Feeney III"), concluding that,
       "following [Italian Colors], our analysis in Feeney II no longer
       comports with the Supreme Court's interpretation of the FAA." Id.
       at 330. Nonetheless, both Feeney I and II remain important for
       understanding Machado.    The FAA is inapplicable to Waithaka's
       claims; thus, the SJC's abrogation of its holding in Feeney II
       based on FAA preemption does not alter the relevance of Feeney II
       to our understanding of Machado.


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       arbitration clauses of employment contracts, like the one in the

       Agreement here.      See Machado, 989 N.E.2d at 467.            The SJC noted

       that "many of the same public policy arguments [applicable to

       consumer claims under Chapter 93A] apply equally well to claims by

       employees under the Wage Act."       Id. at 470.      However, for the same

       reasons described in Feeney II, the SJC concluded that the FAA

       precluded a court from invalidating a class waiver in an employment

       contract based on such state public policy grounds.               Id. at 471.

       Despite     the   "legitimate     policy     rationales"      that     led   the

       Massachusetts legislature to create a statutory right to bring a

       class proceeding, codified in Section 150 of the Wage Act, the SJC

       concluded that those public policy concerns were "of no avail"

       after Concepcion.     Id. at 470.    As in the consumer claims context,

       when the FAA applied, the SJC could invalidate a class waiver in

       an employment contract only when the plaintiff could demonstrate

       that

                   she lacks the practical means to pursue a
                   claim in individual arbitration or, put
                   differently, that the class waiver, when
                   combined with the other terms of the
                   arbitration agreement, "effectively denies
                   [the plaintiff] a remedy and insulates the
                   defendant from private civil liability for
                   violations of State law."




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       Id. (alteration in original) (quoting Feeney II, 989 N.E.2d at

       440).19

                      Ultimately, the SJC concluded that the plaintiffs in

       Machado were unable to make that factual showing.                         Because they

       were seeking damages of approximately $10,000, the SJC rejected

       their       "contention     that        their    claims    were    nonremediable      in

       individual arbitration because the costs of arbitration would more

       than surpass any potential recovery that they might be entitled

       to."        Id. at 472 (internal quotation marks omitted).                     In other

       words, the plaintiffs had not shown that their class waiver was

       invalid based on the narrow ground that the SJC thought survived

       Concepcion. Thus, the Machado plaintiffs were left to pursue their

       Massachusetts Wage Act claims in individual arbitration.                        Id.

                      Despite this outcome, Waithaka urges that the reasoning

       of   Machado        and   Feeney    I     demonstrates     that   class    waivers     in

       employment       contracts,        like    those     in   consumer    contracts,      are

       contrary       to     Massachusetts's           fundamental    public     policy,      as

       reflected in the three employment statutes under which Waithaka

       asserts his claims.          Although that state policy cannot serve as a

       basis to invalidate a class waiver in an arbitration provision

       governed by the FAA, Waithaka asserts that the policy retains force

       when state law governs.


              19
              Of course, after Feeney III, this exception recognized by
       the SJC was no longer available.


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                   Amazon sees the Massachusetts precedent differently.                 It

       argues   that     Machado    shows    that      "Massachusetts      now    confines

       workers' substantive right to class litigation to situations in

       which the plaintiff 'effectively cannot pursue [his or her] claim

       . . . in individual arbitration.'"              Because Waithaka seeks damages

       greater than those at issue in Machado, Amazon argues, the class

       waiver provisions do not leave Waithaka without a viable means of

       pursuing relief and, therefore, even under Massachusetts law,

       these    provisions    are   not     unenforceable        as   contrary    to   the

       Commonwealth's public policy.

                   Amazon's reading of Machado disregards the way that

       Concepcion impacted the SJC's treatment of the class waiver at

       issue    there.       Amazon's     proposed       test   for    determining     the

       enforceability of a class waiver -- whether a plaintiff can

       effectively pursue her claim in individual arbitration based on

       the amount of damages sought -- comes directly from Feeney II, see

       989 N.E.2d at 441, in which the SJC identified an alternative basis

       for invalidating a class waiver in the context of a consumer claim

       after Concepcion held that state public policy cannot provide that

       basis when the FAA applies.

                   The SJC did not say in Feeney II or Machado that it had

       changed its view, expressed in Feeney I, that public policy

       concerns can invalidate a class waiver.                     Moreover, there is

       significant evidence in Machado that the SJC would conclude that


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       the   right        to   pursue   class    relief      in       the   employment   context

       represents the fundamental public policy of the Commonwealth, such

       that this right cannot be contractually waived in an agreement not

       covered       by    the   FAA.    In     addition         to   the   policy    rationales

       articulated for consumer claims in Feeney I, such as "the deterrent

       effect of class action lawsuits," the SJC highlighted another

       significant         rationale    unique     to      the    employment     context     that

       supports this non-waiver conclusion.                      Machado, 989 N.E.2d at 470

       n.12.        As the SJC put it, the statutory right to pursue class

       relief reflects the Commonwealth's "desire to allow one or more

       courageous employees the ability to bring claims on behalf of other

       employees who are too intimidated by the threat of retaliation and

       termination to exercise their rights."                     See id.

                      Indeed, Massachusetts provides even greater statutory

       protection for the right to bring class claims in the employment

       context than in the consumer claims context.                          Massachusetts law

       specifically precludes the waiver of the right to bring class

       claims arising under the Wage Act and Independent Contractor

       Misclassification Law.            Mass. Gen. Laws. Ch. 149, § 148.20                  Such

       "[a]nti[-]waiver          provisions      are    characteristic          of    laws   that



               20
               The fact that this anti-waiver provision does not extend
       to the Minimum Wage Law is not significant to our analysis. For
       the other reasons stated, the Minimum Wage Law's own allowance for
       class claims reflects the fundamental public policy of the
       Commonwealth.


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       protect fundamental public policy."              Melia v. Zenhire, Inc., 967

       N.E.2d 580, 588 (Mass. 2012).

                      Several statements in Machado confirm that the SJC would

       conclude       that     the    Commonwealth's    fundamental     public       policy

       protects the right to bring class actions in the employment

       context, and, furthermore, that it would have reached a contrary

       conclusion in that case if the FAA had not preempted Massachusetts

       law.        The SJC stated forthrightly that it was not "blind to the

       fact that the Legislature may find its purposes [in creating a

       statutory right to bring class claims] frustrated by [the] outcome"

       in Machado. 989 N.E.2d at 470-71. After invalidating and severing

       another       portion     of    the   employment    contract     that       directly

       contradicted a different right provided by the Wage Act,21 the SJC

       stated that it likely would have done the same with the class

       waiver if the FAA did not preclude it from doing so.                      See id. at


              21
               The contract included a waiver of multiple damages.
       Machado, 989 N.E.2d at 472. However, "because the award of treble
       damages is mandatory under [the Wage Act], and cannot be waived,"
       the SJC invalidated and severed that portion of the contract. Id.
       at 472-73. The Court explained that it was able to enforce the
       Wage Act's mandatory award of treble damages and anti-waiver
       provision that protected that entitlement because doing so "does
       not impinge on any fundamental characteristic of arbitration, nor
       does it frustrate the purpose of the arbitral forum." Id. at 473.
       Therefore, the FAA did not preempt the SJC's decision to invalidate
       and sever that portion of the arbitration agreement as contrary to
       the Commonwealth's fundamental public policy.        Id.   However,
       because   invalidating    the   class   waiver    provision   would
       fundamentally alter the nature of the arbitration proceedings, the
       SJC could not similarly invalidate and sever the class waiver
       provision without running afoul of the FAA. Id.


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       472-73.     Specifically, the SJC said that "[p]rior to Concepcion,

       the provision for class proceedings in § 150 [of the Wage Act] and

       the [provision that prevents contractual waiver of that right]

       likely would have compelled [the SJC] to invalidate and sever the

       class waiver."      Id.   at 473.

                    Thus, based on the SJC's reasoning in Machado, we are

       confident that the SJC would conclude that, like the statutory

       right to proceed as a class in the context of Massachusetts Chapter

       93A consumer claims, the statutory rights to proceed as a class

       articulated in the Massachusetts Wage Act, Independent Contractor

       Misclassification Law, and Minimum Wage Law -- as well as the

       statutory provision that precludes contractual waiver of these

       rights     --    represent    the      fundamental      public      policy    of

       Massachusetts, and that the SJC would therefore invalidate a class

       waiver in an employment contract, like that of Waithaka, not

       covered by the FAA.       See Mass. Gen. Laws ch. 149, §§ 148, 150 &

       ch. 151, § 20.     Notwithstanding the Supreme Court's view that such

       state policies must give way when the FAA governs a dispute, the

       policies remain intact where, as here, the FAA does not preempt

       state law.      See Machado, 989 N.E.2d at 470-71, 473.22


            22 Amazon argues that Massachusetts interprets its own
       Arbitration Act, Mass. Gen. Laws ch. 251, § 1, identically to the
       FAA, and so, in light of Concepcion and Italian Colors, even if
       Massachusetts law applied, any public policy against class waivers
       would give way to Massachusetts's own pro-arbitration policy. See



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            2.     The Competing Laws

                   Because the Agreement's class waiver provisions would be

       invalid     under   Massachusetts       law,    we   must     assess     whether

       Massachusetts law would oust the contractual choice of Washington

       law, see supra Section III.A, -- based on our assumption for

       purposes of this case that Washington law would permit the class

       waiver     provisions   to   be   enforced      --   and     thereby    preclude

       arbitration from being compelled pursuant to state law. See Feeney

       I, 908 N.E.2d at 766 (engaging in conflict-of-law analysis to

       determine whether consumer contract's choice of Texas law was

       unenforceable as contrary to Massachusetts's fundamental public

       policy).        Massachusetts     has    embraced      the     conflict-of-law

       principles in the Restatement (Second) of Conflict of Laws.23                See


       Miller v. Cotter, 863 N.E.2d 537, 543 (Mass. 2007) (commenting
       that the FAA's "language is remarkably similar to" the
       Massachusetts Arbitration Act); Walker v. Collyer, 9 N.E.3d 854,
       859 (Mass. App. Ct. 2014) (explaining that, in deciphering the
       Massachusetts Arbitration Act, courts "give strong weight to . . .
       decisions applying the Federal Arbitration Act").     But even if
       Massachusetts follows the lead of the FAA in interpreting its own
       Arbitration Act, that does not help us determine how it balances
       competing policy rationales in the absence of federal preemption.
       Neither Miller nor Walker has anything to say on that balancing,
       and Amazon does not point us to any other cases that do.        We
       therefore reject the argument that Massachusetts's public policy
       favoring the ability to bring classwide claims gives way to its
       own pro-arbitration policy.
            23Federal courts sitting in diversity look to the conflict-
       of-law principles of the forum state to determine the applicable
       substantive law. See Klaxon Co. v. Stentor Elec. Mfg. Co., 313
       U.S. 487, 496 (1941).       Neither party has contested that
       Massachusetts remains the "forum state" for purposes of the



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       Hodas v. Morin, 814 N.E.2d 320, 324 (Mass. 2004).           The Restatement

       establishes a two-part inquiry: first, we must assess whether the

       state chosen by the parties in their contract has a "substantial

       relationship" to the contract and, second, whether applying the

       law of that state -- here, Washington -- "'would be contrary to a

       fundamental policy of a state which has a materially greater

       interest than the chosen state' and is the state whose law would

       apply . . . 'in the absence of an effective choice of law by the

       parties.'"    Id. at 325 (quoting Restatement (Second) of Conflict

       of Laws § 187(2) (Am. Law Inst. 1971)).

                   Washington, where both Amazon.com and Amazon Logistics

       are   headquartered,    has   a   "substantial     relationship"         to   the

       contract.    See Restatement (Second) of Conflict of Laws § 187(2)

       cmt. f (Am. Law Inst. 1971) (noting that a state has a "substantial

       relationship" to the contract if it is "where performance by one

       of the parties is to take place or where one of the parties is

       domiciled or has his principal place of business").                   Yet Amazon

       does not dispute that, in the absence of an effective contractual

       choice of law, the law of Massachusetts would apply.                   Nor does

       Amazon contest that Massachusetts, where Waithaka has indisputably


       conflict-of-law analysis despite the transfer under the "first-
       to-file" doctrine to the Western District of Washington.       Cf.
       Ferens v. John Deere Co., 494 U.S. 516, 523-27 (1990) (explaining
       that, when the transfer of a diversity case occurs under 28 U.S.C.
       § 1404(a), the state law of the transferor jurisdiction applies
       even after the transfer).


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       performed   all     of   his    work    pursuant     to   the    contract,     has     "a

       materially greater interest" in the enforceability of the class

       waiver and arbitration provisions than Washington.                           Moreover,

       engaging in a conflict-of-law analysis in Feeney I, the SJC had

       little trouble finding that, in a dispute where the Commonwealth's

       fundamental interest in avoiding class waivers was at stake, the

       Commonwealth had a "materially greater interest" than the state

       whose law would otherwise apply.             See Feeney I, 908 N.E.2d at 766-

       67 & n.32 (noting that the question of whether Massachusetts has

       a "materially greater interest" in a contractual relationship "is

       subsumed with [the plaintiffs'] argument that the fundamental

       public   policy     favoring      class     actions"      would    result      in     the

       application    of    Massachusetts         law)     (internal     quotation         marks

       omitted).         Ultimately,      Amazon         contests      only   whether        the

       fundamental public policy of Massachusetts barring class waivers

       in employment contracts applies when a worker seeks damages of a

       sufficiently high dollar value.            But we have already explained why

       Amazon's contention fails.

                   Hence, assuming that Washington law would permit the

       class    waiver     provisions,        Massachusetts       law    would      oust    the

       contractual       choice   of    Washington         law    as    contrary     to      the

       Commonwealth's fundamental public policy and would govern the

       enforceability of the dispute resolution section of the Agreement.

       Under Massachusetts law, the class waiver provisions would be


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       invalid. Because, as noted, see supra Section III.B, the Agreement

       stipulates that the class waiver provisions cannot be severed from

       the   rest    of   the   dispute   resolution      section,   the    arbitration

       provision would be similarly unenforceable.24

                    Thus,   the    district    court   rightly    refused       to    compel

       arbitration pursuant to state law.

                                               IV.

                    For   the     foregoing    reasons,   we   affirm    the     district

       court's denial of Amazon's motion to compel arbitration.

                    So ordered.




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              As we stated already, if our assumption for purposes of our
       conflict-of-law analysis that Washington would permit class action
       waivers in employment contracts is incorrect, and thus there is no
       actual conflict between the law of Washington and Massachusetts,
       Waithaka would simply prevail under the contractual choice of
       Washington law.


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